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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

SYMBOLOGY INNOVATIONS, LLC,           §
                                      §
      Plaintiff,                      §                        Case No:
                                      §
vs.                                   §                        PATENT CASE
                                      §
AT&T MOBILITY LLC, and                §
AT&T SERVICES, INC.                   §
                                      §
      Defendant.                      §
_____________________________________ §


                                           COMPLAINT

       Plaintiff Symbology Innovations, LLC (“Plaintiff” or “Symbology”) files this Complaint

against AT&T Mobility LLC (“AT&T Mobility”) and AT&T Services, Inc. (“AT&T Services”)

(collectively “Defendants” or “AT&T”) for infringement of United States Patents No. 8,424,752,

No. 8,651,369, and No. 8,936,190 (hereinafter “the ‘752 Patent,” “the ‘369 Patent,” and “the

‘190 Patent”).

                                PARTIES AND JURISDICTION

       1.        This is an action for patent infringement under Title 35 of the United States Code.

Plaintiff is seeking injunctive relief as well as damages.

       2.        Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal

Question) and 1338(a) (Patents) because this is a civil action for patent infringement arising

under the United States patent statutes.

       3.        Plaintiff is a Texas limited liability company with its principal office located at

1400 Preston Road, Suite 400, Plano, Texas 75093.

       4.        On information and belief, Defendant AT&T Mobility is a Delaware limited



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liability company with a principal place of business at 1025 Lennox Park Boulevard, Atlanta,

Georgia 30319.

       5.         On information and belief, Defendant AT&T Services is a Delaware corporation

with a principal place of business at 208 S. Akard St, Dallas, Texas 75202.

       6.         This Court has personal jurisdiction over Defendants because Defendants have

committed, and continue to commit, acts of infringement in the state of Texas, have conducted

business in the state of Texas, and/or have engaged in continuous and systematic activities in the

state of Texas.

       7.         Upon information and belief, Defendants’ instrumentalities that are alleged

herein to infringe were and continue to be used, imported, offered for sale, and/or sold in the

Eastern District of Texas.

                                               VENUE

       8.         Venue is proper in the Eastern District of Texas pursuant to 28 U.S.C. §§ 1391(c)

and 1400(b) because Defendants are deemed to reside in this District. In addition, and in the

alternative, Defendants have committed acts of infringement in this District.

                                  COUNT I
             (INFRINGEMENT OF UNITED STATES PATENT NO. 8,424,752)

       9.         Plaintiff incorporates paragraphs 1 through 8 herein by reference.

       10.        This cause of action arises under the patent laws of the United States and, in

particular, under 35 U.S.C. §§ 271, et seq.

       11.        Plaintiff is the owner by assignment of the ‘752 Patent with sole rights to enforce

the ‘752 Patent and sue infringers.

       12.        A copy of the ‘752 Patent, titled “System and Method for Presenting Information

about an Object on a Portable Electronic Device,” is attached hereto as Exhibit A.



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       13.     The ‘752 Patent is valid, enforceable, and was duly issued in full compliance with

Title 35 of the United States Code.

       14.     Upon information and belief, Defendants have infringed and continue to infringe

one or more claims, including at least Claim 1, of the ‘752 Patent by using and/or incorporating

Quick Response Codes (QR codes) in printed media associated with its products and services in

a manner covered by one or more claims of the ‘752 Patent. Defendants have infringed and

continues to infringe the ‘752 Patent in violation of 35 U.S.C. § 271.

       15.     On information and belief, Defendants have, at least through internal testing, used

or incorporated QR codes in printed media, associating such QR codes with products and/or

services. One specific example of Defendants’ activity involves the use of QR codes on

envelopes used to mail monthly statements to customers.

       16.     For example, on information and belief, Defendants have at least internally tested

the functionality of its QR codes in connection with its use of QR codes on envelopes and

associated with Defendants’ products and services. On information and belief, Defendants have

captured a digital image of a QR code on its envelopes, an example of which is shown below.




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       17.     Defendants’ media informs users that they can scan the QR through their

smartphone to obtain product information. On information and belief, at least through internal

testing, Defendants have used a digital image capturing device of a portable electronic device,

such as the camera component of a smart phone for example, to capture a digital image of the

QR code associated with its products and product literature.

       18.     On information and belief, Defendants’ capture of the digital image is processed

by scanning technology loaded onto the portable electronic device. The scanning technology

detects symbology (for example, a pattern within the QR code) associated with an object (for

example, the QR code itself). On information and belief the scanning technology is used to

decode the symbology to obtain a decode string. The decode string is sent to a remote server for

further processing. Based on the decode string, the remote server sends information associated

with the QR code, which is received by the user of the portable electronic device and displayed

on a display associated with the portable electronic device.

       19.     For example, if a user scans a QR code associated with Defendants’ envelopes,

scanning technology decodes the pattern of the QR code to obtain a decode string and sends the

decode string to a remote server. The server returns information associated with the QR code.

In this example, the information received by the user and displayed on the portable electronic

device is information about Defendants’ products, such as U-Verse and AT&T apps, and

includes a website providing additional information about the products. The information is

illustrated, for example, on the following website:

https://play.google.com/store/apps/details?id=com.att.android.uverse&hl=en.

and the information displayed is illustrated by the partial screen shot below.




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       20.     Defendants’ actions complained of herein will continue unless Defendants are

enjoined by this court.

       21.     Defendants’ actions complained of herein are causing irreparable harm and

monetary damage to Plaintiff and will continue to do so unless and until Defendants are enjoined

and restrained by this Court.

       22.     Plaintiff is in compliance with 35 U.S.C. § 287.

                                 COUNT II
             (INFRINGEMENT OF UNITED STATES PATENT NO. 8,651,369)

       23.     Plaintiff incorporates paragraphs 1 through 22 herein by reference.

       24.     This cause of action arises under the patent laws of the United States and, in




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particular, under 35 U.S.C. §§ 271, et seq.

       25.     Plaintiff is the owner by assignment of the ‘369 Patent with sole rights to enforce

the ‘369 Patent and sue infringers.

       26.     A copy of the ‘369 Patent, titled “System and Method for Presenting Information

about an Object on a Portable Electronic Device,” is attached hereto as Exhibit B.

       27.     The ‘369 Patent is valid, enforceable, and was duly issued in full compliance with

Title 35 of the United States Code.

       28.     Upon information and belief, Defendants have infringed and continue to infringe

one or more claims, including at least Claim 1, of the ‘369 Patent by using and/or incorporating

Quick Response Codes (QR codes) in printed media associated with its products and services in

a manner covered by one or more claims of the ‘369 Patent. Defendants have infringed and

continues to infringe the ‘369 Patent in violation of 35 U.S.C. § 271.

       29.     On information and belief, Defendants have, at least through internal testing, used

or incorporated QR codes in printed media, associating such QR codes with products and/or

services. One specific example of Defendants’ activity involves the use of QR codes on

envelopes used to mail monthly statements to customers.

       30.     For example, on information and belief, Defendants have at least internally tested

the functionality of its QR codes in connection with its use of QR codes on envelopes and

associated with Defendants’ products and services. On information and belief, Defendants have

captured a digital image of a QR code on its envelopes, an example of which is shown below.




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       31.     Defendants’ media informs users that they can scan the QR through their

smartphone to obtain product information. On information and belief, at least through internal

testing, Defendants have used a digital image capturing device of a portable electronic device,

such as the camera component of a smart phone for example, to capture a digital image of the

QR code associated with its products and product literature.

       32.     On information and belief, Defendants’ capture of the digital image is processed

by scanning technology loaded onto the portable electronic device. The scanning technology

detects symbology (for example, a pattern within the QR code) associated with an object (for

example, the QR code itself). On information and belief the scanning technology is used to

decode the symbology to obtain a decode string. The decode string is sent to a remote server for

further processing. Based on the decode string, the remote server sends information associated

with the QR code, which is received by the user of the portable electronic device and displayed

on a display associated with the portable electronic device.

       33.     For example, if a user scans a QR code associated with Defendants’ envelopes,

scanning technology decodes the pattern of the QR code to obtain a decode string and sends the



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decode string to a remote server. The server returns information associated with the QR code.

In this example, the information received by the user and displayed on the portable electronic

device is information about Defendants’ products, such as U-Verse and AT&T apps, and

includes a website providing additional information about the products. The information is

illustrated, for example, on the following website:

https://play.google.com/store/apps/details?id=com.att.android.uverse&hl=en

and the information displayed is illustrated by the partial screen shot below.




       34.     Defendants’ actions complained of herein will continue unless Defendants are

enjoined by this court.

       35.     Defendants’ actions complained of herein are causing irreparable harm and



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monetary damage to Plaintiff and will continue to do so unless and until Defendants are enjoined

and restrained by this Court.

       36.     Plaintiff is in compliance with 35 U.S.C. § 287.

                                 COUNT III
             (INFRINGEMENT OF UNITED STATES PATENT NO. 8,936,190)

       37.     Plaintiff incorporates paragraphs 1 through 36 herein by reference.

       38.     This cause of action arises under the patent laws of the United States and, in

particular, under 35 U.S.C. §§ 271, et seq.

       39.     Plaintiff is the owner by assignment of the ‘190 Patent with sole rights to enforce

the ‘190 patent and sue infringers.

       40.     A copy of the ‘190 Patent, titled “System and Method for Presenting Information

about an Object on a Portable Electronic Device,” is attached hereto as Exhibit C.

       41.     The ‘190 Patent is valid, enforceable, and was duly issued in full compliance with

Title 35 of the United States Code.

       42.     Upon information and belief, Defendants have infringed and continue to infringe

one or more claims, including at least Claim 1, of the ‘190 Patent by using and/or incorporating

Quick Response Codes (QR codes) in printed media associated with its products and services in

a manner covered by one or more claims of the ‘190 Patent. Defendants have infringed and

continues to infringe the ‘190 Patent in violation of 35 U.S.C. § 271.

       43.     On information and belief, Defendants have, at least through internal testing, used

or incorporated QR codes in printed media, associating such QR codes with products and/or

services. One specific example of Defendants’ activity involves the use of QR codes on

envelopes used to mail monthly statements to customers.

       44.     For example, on information and belief, Defendants have at least internally tested



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the functionality of its QR codes in connection with its use of QR codes on envelopes and

associated with Defendants’ products and services. On information and belief, Defendants have

captured a digital image of a QR code on its envelopes, an example of which is shown below.




       45.     Defendants’ media informs users that they can scan the QR through their

smartphone to obtain product information. On information and belief, at least through internal

testing, Defendants have used a digital image capturing device of a portable electronic device,

such as the camera component of a smart phone for example, to capture a digital image of the

QR code associated with its products and product literature.

       46.     On information and belief, Defendants’ capture of the digital image is processed

by scanning technology loaded onto the portable electronic device. The scanning technology

detects symbology (for example, a pattern within the QR code) associated with an object (for

example, the QR code itself). On information and belief the scanning technology is used to

decode the symbology to obtain a decode string. The decode string is sent to a remote server for

further processing. Based on the decode string, the remote server sends information associated

with the QR code, which is received by the user of the portable electronic device and displayed



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on a display associated with the portable electronic device.

       47.     For example, if a user scans a QR code associated with Defendants’ envelopes,

scanning technology decodes the pattern of the QR code to obtain a decode string and sends the

decode string to a remote server. The server returns information associated with the QR code.

In this example, the information received by the user and displayed on the portable electronic

device is information about Defendants’ products, such as U-Verse and AT&T apps, and

includes a website providing additional information about the products. The information is

illustrated, for example, on the following website:

https://play.google.com/store/apps/details?id=com.att.android.uverse&hl=en

and the information displayed is illustrated by the partial screen shot below.




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          48.    Defendants’ actions complained of herein will continue unless Defendants are

enjoined by this court.

          49.    Defendants’ actions complained of herein are causing irreparable harm and

monetary damage to Plaintiff and will continue to do so unless and until Defendants are enjoined

and restrained by this Court.

          50.    Plaintiff is in compliance with 35 U.S.C. § 287.

                                     PRAYER FOR RELIEF

          WHEREFORE, Plaintiff asks the Court to:

          (a)    Enter judgment for Plaintiff on this Complaint on all causes of action asserted

herein;

          (b)    Enter an Order enjoining Defendants, its agents, officers, servants, employees,

attorneys, and all persons in active concert or participation with Defendants who receive notice

of the order from further infringement of United States Patents No. 8,424,752, No. 8,651,369,

and No. 8,936,190 (or, in the alternative, awarding Plaintiff running royalties from the time of

judgment going forward);

          (c)    Award Plaintiff damages resulting from Defendants’ infringement in accordance

with 35 U.S.C. § 284;

          (d)    Award Plaintiff pre-judgment and post-judgment interest and costs; and

          (e)    Award Plaintiff such further relief to which the Court finds Plaintiff entitled under

law or equity.




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Dated: June 7, 2016                   Respectfully submitted,



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                             EXHIBIT C
